                     Case 23-11161-JKS                 Doc 407   Filed 11/09/23         Page 1 of 8




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

 In re:
                                                                  Chapter 11
                                                   1
 Prime Core Technologies Inc., et al.,
                                                                  Case No. 23-11161 (JKS)
                                                   Debtors.
                                                                  (Jointly Administered)


                                                 AFFIDAVIT OF SERVICE

       I, Andrew K. Fitzpatrick, depose and say that I am employed by Stretto, the claims and
noticing agent for the Debtors in the above-captioned cases.

       On November 7, 2023, at my direction and under my supervision, employees of Stretto
caused the following documents to be served via first-class mail on the service list attached hereto
as Exhibit A, and via electronic mail on the service list attached hereto as Exhibit B:

          Debtors’ Motion for Leave to File a Late Reply in Support of Debtors’ Motion for
           Entry of an Order Directing Witness to (I) Sit for a Rule 2004 Examination, (II)
           Produce Documents, and (III) Provide Sworn Interrogatory Responses in Response
           to Rule 2004 Requests (Docket No. 384)

          Declaration of Joseph B. Evans, Esq. In Support of Debtors’ Reply in Support of
           Debtors’ Motion for Entry of an Order Directing Witness to (I) Sit for a Rule 2004
           Examination, (II) Produce Documents, and (III) Provide Sworn Interrogatory
           Responses in Response to Rule 2004 Requests (Docket No. 385)




                                 [THIS SPACE INTENTIONALLY LEFT BLANK]




______________________________________________
1
  The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
(4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
Case 23-11161-JKS   Doc 407   Filed 11/09/23   Page 2 of 8
Case 23-11161-JKS   Doc 407   Filed 11/09/23   Page 3 of 8




                    Exhibit A
                                                                 Case 23-11161-JKS         Doc 407           Filed 11/09/23           Page 4 of 8
                                                                                                 Exhibit A
                                                                                           Served via First-Class Mail


                               Name                                          Attention                      Address 1                            Address 2                  City       State     Zip     Country
Internal Revenue Service                                                                   PO Box 7346                                                               Philadelphia     PA     19101-7346
Office of the Attorney General for the District of Columbia                                441 4Th St Nw, Ste 1100S                                                  Washington       DC     20001
Office of the Attorney General for the District of Puerto Rico                             350 Carlos Chardón Street                Torre Chardón, Suite 1201        San Juan         PR     00918      Puerto Rico
Office of the Attorney General for the State of Alabama                                    501 Washington Ave                                                        Montgomery       AL     36104
Office of the Attorney General for the State of Alaska                                     1031 W 4th Ave, Ste 200                                                   Anchorage        AK     99501
Office of the Attorney General for the State of Arizona                                    2005 N Central Ave                                                        Phoenix          AZ     85004
Office of the Attorney General for the State of Arkansas                                   323 Center St, Ste 200                                                    Little Rock      AR     72201
Office of the Attorney General for the State of California                                 PO Box 944255                                                             Sacramento       CA     94244-2550
Office of the Attorney General for the State of Colorado                                   Ralph L. Carr Judicial Building          1300 Broadway, 10Th Fl           Denver           CO     80203
Office of the Attorney General for the State of Connecticut                                165 Capitol Ave                                                           Hartford         CT     06106
Office of the Attorney General for the State of Florida                                    The Capitol Pl-01                                                         Tallahassee      FL     32399
Office of the Attorney General for the State of Georgia                                    40 Capitol Sq Sw                                                          Atlanta          GA     30334
Office of the Attorney General for the State of Hawaii                                     425 Queen Street                                                          Honolulu         HI     96813
Office of the Attorney General for the State of Idaho                                      700 W. Jefferson St, Suite 210                                            Boise            ID     83720
Office of the Attorney General for the State of Illinois                                   James R. Thompson Center                 100 W. Randolph St               Chicago          IL     62706
Office of the Attorney General for the State of Indiana                                    Indiana Government Center South          302 W Washington St 5Th Fl       Indianapolis     IN     46204
Office of the Attorney General for the State of Iowa                                       Hoover State Office Building             1305 E. Walnut Street Rm 109     Des Moines       IA     50319
Office of the Attorney General for the State of Kansas                                     120 SW 10Th Ave, 2nd Fl                                                   Topeka           KS     66612
Office of the Attorney General for the State of Kentucky                                   Capitol Building                         700 Capitol Ave Ste 118          Frankfort        KY     40601
Office of the Attorney General for the State of Louisiana                                  1885 N. Third St                                                          Baton Rouge      LA     70802
Office of the Attorney General for the State of Maine                                      6 State House Station                                                     Augusta          ME     04333
Office of the Attorney General for the State of Maryland                                   200 St. Paul Pl                                                           Baltimore        MD     21202
Office of the Attorney General for the State of Massachusetts                              1 Ashburton Place, 20Th Floor                                             Boston           MA     02108
Office of the Attorney General for the State of Michigan                                   G. Mennen Williams Building, 7Th Floor   525 W Ottawa St                  Lansing          MI     48909
Office of the Attorney General for the State of Minnesota                                  445 Minnesota St, Ste 1400                                                St. Paul         MN     55101
Office of the Attorney General for the State of Mississippi                                Walter Sillers Building                  550 High St Ste 1200             Jackson          MS     39201
Office of the Attorney General for the State of Missouri                                   Supreme Court Building                   207 W High St                    Jefferson City   MO     65101
Office of the Attorney General for the State of Montana                                    215 N. Sanders                           Justice Building, Third Fl       Helena           MT     59601
Office of the Attorney General for the State of Nebraska                                   2115 State Capitol                                                        Lincoln          NE     68509
Office of the Attorney General for the State of Nevada                                     Old Supreme Court Building               100 N Carson St                  Carson City      NV     89701
Office of the Attorney General for the State of New Hampshire                              Nh Department Of Justice                 33 Capitol St.                   Concord          NH     03301
Office of the Attorney General for the State of New Jersey                                 Richard J. Hughes Justice Complex        25 Market St 8Th Fl, West Wing   Trenton          NJ     08611
Office of the Attorney General for the State of New Mexico                                 408 Galisteo Street                      Villagra Building                Santa Fe         NM     87501
Office of the Attorney General for the State of New York                                   The Capitol                              2nd Floor                        Albany           NY     12224
Office of the Attorney General for the State of North Carolina                             114 W Edenton St                                                          Raleigh          NC     27603
Office of the Attorney General for the State of North Dakota                               State Capitol, 600 E Boulevard Ave       Dept. 125                        Bismarck         ND     58505
Office of the Attorney General for the State of Ohio                                       State Office Tower                       30 E Broad St 14Th Fl            Columbus         OH     43215
Office of the Attorney General for the State of Oklahoma                                   313 Ne 21St St                                                            Oklahoma City    OK     73105
Office of the Attorney General for the State of Oregon                                     1162 Court St NE                                                          Salem            OR     97301
Office of the Attorney General for the State of Pennsylvania                               Strawberry Square 16Th Fl                                                 Harrisburg       PA     17120
Office of the Attorney General for the State of Rhode Island                               150 S Main St                                                             Providence       RI     02903
Office of the Attorney General for the State of South Carolina                             Rembert C. Dennis Bldg                   1000 Assembly St Rm 519          Columbia         SC     29201
Office of the Attorney General for the State of South Dakota                               1302 E Highway 14, Ste 1                                                  Pierre           SD     57501
Office of the Attorney General for the State of Tennessee                                  301 6Th Ave N                                                             Nashville        TN     37243
Office of the Attorney General for the State of Texas                                      300 W. 15Th St                                                            Austin           TX     78701
Office of the Attorney General for the State of Utah                                       Utah State Capitol Complex               350 North State St Ste 230       Salt Lake City   UT     84114
Office of the Attorney General for the State of Vermont                                    109 State St.                                                             Montpelier       VT     05609
Office of the Attorney General for the State of Virginia                                   202 N. Ninth St.                                                          Richmond         VA     23219
Office of the Attorney General for the State of Washington                                 1125 Washington St Se                                                     Olympia          WA     98501
Office of the Attorney General for the State of Washington                                 PO Box 40100                                                              Olympia          WA     98504
Office of the Attorney General for the State of West Virginia                              State Capitol, 1900 Kanawha Blvd E       Building 1 Rm E-26               Charleston       WV     25305
Office of the Attorney General for the State of Wisconsin                                  17 West Main Street, Room 114 East P                                      Madison          WI     53702
Office of the Attorney General for the State of Wyoming                                    Kendrick Building                        2320 Capitol Ave                 Cheyenne         WY     82002
Office of The U.S. Trustee for the District of Delaware          Attn: Linda Casey, Esq.   844 N King St #2207                      Lockbox 35                       Wilmington       DE     19801


In re: Prime Core Technologies Inc., et al.
Case No. 23-11161 (JKS)                                                                                                                                                                                   Page 1 of 2
                                                    Case 23-11161-JKS                 Doc 407           Filed 11/09/23         Page 5 of 8
                                                                                            Exhibit A
                                                                                      Served via First-Class Mail


                               Name                              Attention                            Address 1                         Address 2               City    State      Zip       Country
                                                    Attn: Andrew Calamari, Regional   New York Regional Office, Brookfield
Securities And Exchange Commission                  Director                          Place                                  200 Vesey Street, Suite 400   New York     NY      10281-1022
Securities And Exchange Commission                  Attn: Lara Shalov Mehraban        100 Pearl St                           Suite 20-100                  New York     NY      10004-2616
Securities And Exchange Commission                  Attn: Secretary of The Treasury   100 F Street, NE                                                     Washington   DC      20549
US Attorney’s Office for the District of Delaware                                     1313 N Market Street                                                 Wilmington   DE      19801




In re: Prime Core Technologies Inc., et al.
Case No. 23-11161 (JKS)                                                                                                                                                                      Page 2 of 2
Case 23-11161-JKS   Doc 407   Filed 11/09/23   Page 6 of 8




                    Exhibit B
                                                    Case 23-11161-JKS           Doc 407       Filed 11/09/23       Page 7 of 8

                                                                                    Exhibit B
                                                                             Served via Electronic Mail

                               Name                                           Attention 1                       Attention 2                                 Email
                                                                  c/o Pashman Stein Walder          Attn: John W. Weiss, William R.       jweiss@pashmanstein.com
 Allegheny Casualty Company                                       Hayden, P.C.                      Firth, III                            wfirth@pashmanstein.com
 Allsectech, Inc.                                                 Attn: Aviral Dhirendra                                                  aviral198828@gmail.com
                                                                  c/o Troutman Pepper Hamilton      Attn: David M. Fournier & Evelyn J.   david.fournier@troutman.com
 AnchorCoin LLC                                                   Sanders LLP                       Meltzer                               evelyn.meltzer@troutman.com
 Austin Ward                                                                                                                              austindward@proton.me
                                                                  c/o Meyers, Roman, Friedberg &
 Coinbits, Inc.                                                   Lewis LPA                         Attn: David M Newumann                dneumann@meyersroman.com
                                                                                                                                          susheelkirpalani@quinnemanuel.com
                                                                                                                                          pattytomasco@quinnemanuel.com
                                                                                                    Attn: Susheel Kirpalani & Patricia B. danielholzman@quinnemanuel.com
                                                                                                    Tomasco & Daniel Holzman & Alain alainjaquet@quinnemanuel.com
 Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings   c/o Quinn Emanuel Urquhart &      Jaquet & Razmig Izakelian & Joanna razmigizakelian@quinnemanuel.com
 Ltd., and Bittrex Malta Ltd.                                     Sullivan, LLP                     Caytas                                joannacaytas@quinnemanuel.com
 Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings   c/o Young Conaway Stargatt &      Attn: Robert S. Brady & Kenneth J. rbrady@ycst.com
 Ltd., and Bittrex Malta Ltd.                                     Taylor, LLP                       Enos                                  kenos@ycst.com
 DMG Blockchain Solutions, Inc.                                   Attn: Steven Eliscu                                                     steve@dmgblockchain.com
                                                                                                                                          akornfeld@pszjlaw.com
                                                                  c/o Pachulski Stang Ziehl &       Attn: Alan J. Kornfeld & Jason H.     jrosell@pszjlaw.com
 George Georgiades, Kevin Lehtiniitty, and Scott Purcell          Jones LLP                         Rosell & James E. O’Neill             joneill@pszjlaw.com
                                                                  c/o Gellert Scali Busenkell &
 Kado Software, Inc.                                              Brown, LLC                        Attn: Michael Van Gorder              mvangorder@gsbblaw.com
 Kado Software, Inc.                                              c/o Raines Feldman Littrell LLP   Attn: David S. Forsh                  dforsh@raineslaw.com
 Net Cents Technology, Inc.                                       Attn: Clayton Moore                                                     claytonmoore@net-cents.com
 Office of the Attorney General for the District of Columbia                                                                              oag@dc.gov
 Office of the Attorney General for the State of Alabama                                                                                  consumerinterest@Alabamaag.gov
 Office of the Attorney General for the State of Alaska                                                                                   attorney.general@alaska.gov
 Office of the Attorney General for the State of Arizona                                                                                  BCEIntake@azag.gov
 Office of the Attorney General for the State of California                                                                               xavier.becerra@doj.ca.gov
 Office of the Attorney General for the State of Colorado                                                                                 DOR_TAC_Bankruptcy@state.co.us
 Office of the Attorney General for the State of Connecticut                                                                              attorney.general@ct.gov
 Office of the Attorney General for the State of Hawaii                                                                                   hawaiiag@hawaii.gov
 Office of the Attorney General for the State of Illinois                                                                                 michelle@lisamadigan.org
 Office of the Attorney General for the State of Iowa                                                                                     consumer@ag.iowa.gov
 Office of the Attorney General for the State of Kentucky                                                                                 KyOAGOR@ky.gov
 Office of the Attorney General for the State of Louisiana                                                                                ConstituentServices@ag.louisiana.gov
 Office of the Attorney General for the State of Maryland                                                                                 oag@oag.state.md.us

 Office of the Attorney General for the State of Massachusetts                                                                            ago@state.ma.us
 Office of the Attorney General for the State of Michigan                                                                                 miag@michigan.gov
 Office of the Attorney General for the State of Missouri                                           Supreme Court Building                consumer.help@ago.mo.gov

 Office of the Attorney General for the State of New Hampshire                                                                            attorneygeneral@doj.nh.gov
In re: Prime Core Technologies Inc., et al.
Case No. 23-11161 (JKS)                                                                                                                                                 Page 1 of 2
                                                     Case 23-11161-JKS        Doc 407       Filed 11/09/23       Page 8 of 8

                                                                                  Exhibit B
                                                                            Served via Electronic Mail

                               Name                                        Attention 1                        Attention 2                            Email

 Office of the Attorney General for the State of North Dakota                                     State Capitol, 600 E Boulevard Ave  ndag@nd.gov
 Office of the Attorney General for the State of Oklahoma                                                                             questions@oag.ok.gov
 Office of the Attorney General for the State of Utah                                            Utah State Capitol Complex           uag@utah.gov
 Office of the Attorney General for the State of Vermont                                                                              ago.info@vermont.gov
 Office of the Attorney General for the State of West Virginia                                                                        consumer@wvago.gov
                                                                                                                                      rstark@brownrudnick.com
                                                                                                 Attn: Robert J. Stark & Bennett S.   bsilverberg@brownrudnick.com
                                                                                                 Silverberg & Kenneth J. Aulet &      kaulet@brownrudnick.com
 Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP           Jennifer M. Schein                   jschein@brownrudnick.com
                                                                                                 Attn: Tristan G. Axelrod & Matthew   taxelrod@brownrudnick.com
 Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP           A. Sawyer                            msawyer@brownrudnick.com
                                                                 c/o Womble Bond Dickinson (US) Attn: Donald J. Detweiler & Elazar A. don.detweiler@wbd-us.com
 Official Committee of Unsecured Creditors                       LLP                             Kosman                               elazar.kosman@wbd-us.com
 OKCoin USA Inc. and OKC USA Holding Inc.                        c/o Duane Morris LLP            Attn: Sommer L. Ross                 slross@duanemorris.com
                                                                 c/o Buchalter, A Professional
 Oracle America, Inc.                                            Corporation                     Attn: Shawn M. Christianson          schristianson@buchalter.com
                                                                 c/o McElroy, Deutsch, Mulvaney
 Philadelphia Indemnity Insurance Company                        & Carpenter, LLP                Attn: Gary D. Bressler               gbressler@mdmc-law.com
 Polaris Ventures                                                Attn: Ruairi Donnelly                                                ruairi.donnelly@polaris-ventures.org
                                                                 c/o Mintz, Levin, Cohn, Ferris,
 Polaris Ventures                                                Glovsky and Popeo, P.C.         Attn: Abigail O’Brient               aobrient@mintz.com
                                                                 c/o Mintz, Levin, Cohn, Ferris,
 Polaris Ventures                                                Glovsky and Popeo, P.C.         Attn: Joseph R. Dunn                 jrdunn@mintz.com
                                                                 c/o Young Conaway Stargatt &    Attn: Michael R. Nestor & Ryan M.    mnestor@ycst.com
 Polaris Ventures                                                Taylor, LLP                     Bartley                              rbartley@ycst.com
 Securities And Exchange Commission                              Attn: Lara Shalov Mehraban                                           nyrobankruptcy@sec.gov
 Stably Corporation                                              Attn: Ivan Inchauste                                                 ivan@stably.io
                                                                                                                                      JWilliamson@gravislaw.com
 Stably Corporation                                              c/o Gravis Law, PLLC            Attn: Jill Williamson                MPyfrom@gravislaw.com
                                                                                                                                      JOLeary@gravislaw.com
                                                                                                                                      DCannon@gravislaw.com
                                                                                                                                      MHess@gravislaw.com
 Stably Corporation                                              c/o Gravis Law, PLLC            Attn: John W. O'Leary                HHarden@gravislaw.com
 Thomas Pageler                                                  c/o Clark Hill PLC              Attn: Karen M. Grivner               kgrivner@clarkhill.com
                                                                                                 Attn: Tobias S. Keller & Traci L.    tkeller@kbkllp.com
 Tiki Labs, Inc. dba Audius Inc.                                 c/o Keller Benvenutti Kim LLP   Shafroth                             tshafroth@kbkllp.com
                                                                 c/o Pashman Stein Walder
 Tiki Labs, Inc. dba Audius Inc.                                 Hayden PC                       Attn: John W. Weiss                  jweiss@pashmanstein.com
 US Attorney’s Office for the District of Delaware                                                                                    USADE.ECFBANKRUPTCY@usdoj.gov
 Yousef Abbasi                                                                                                                        Yousef.a.abbasi@gmail.com



In re: Prime Core Technologies Inc., et al.
Case No. 23-11161 (JKS)                                                                                                                                            Page 2 of 2
